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                          UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF FLORIDA
                                   MIAMI DIVISION
                        CASE NO.: 21-cv-20862-BLOOM/Otazo-Reyes

  MILLENNIUM FUNDING, INC. et. al,

        Plaintiffs,

  v.

  1701 MANAGEMENT LLC d/b/a LIQUIDPVN, et. al,

        Defendants.
  _____________________________________________/




        QUADRANET, INC.’S AND QUADRANET ENTERPRISES, LLC’S SPECIAL
       OBJECTION AND LIMITED OPPOSITION TO THE PLAINTIFFS’ MOTION
        FOR RECONSIDERATION OF ORDER DENYING PLAINTIFFS’ MOTION
            FOR A DEFAULT FINAL JUDGMENT AGAINST DEFENDANTS
              1701 MANAGEMENT LLC d/b/a LIQUIDVPN, AUH20 LLC,
                          AND CHARLES MUSZYNSKI
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           Quadranet, Inc. and Quadranet Enterprises, LLC (collectively “Quadranet”), by and through
  their undersigned counsel, file this Special Objection and Limited Opposition to the Motion for
  Reconsideration of the Court’s Order Denying Motion for Entry of Final Default Judgment against
  Defendants 1701 MANAGEMENT LLC d/b/a LIQUIDVPN, AUH2O LLC, and CHARLES
  MUSZYNSKI a/k/a FREDERICK DOUGLAS (collectively the “LiquidVPN Defendants”). The
  Motion for Reconsideration [D.E. 168] (“Motion”) was filed by certain of the plaintiffs to this action,
  namely Millennium Funding, Inc. (“Millennium”), Voltage Holdings, LLC (“Voltage”), and 42
  Ventures, LLC (“42 Ventures”). Without waiver of and expressly preserving all of their Rule 12
  defenses set forth in the pending Motion to Dismiss the Second Amended Complaint (“SAC”) [D.E.
  96],1 Quadranet respectfully submits that the subject Motion should be denied based upon the
  following memorandum of law.
      I.   PRELIMINARY STATEMENT
           Dissatisfied with the Court’s ruling on their prior request for a default final judgment,
  Millennium, Voltage, and 42 Ventures (hereinafter “Plaintiffs”) are seeking the extraordinary remedy
  of reconsideration by attempting to relitigate what this Court has already decided. As a preliminary
  matter, it should come as no surprise that the request for reconsideration was filed, as the plaintiffs’
  counsel (Mr. Culpepper) has a vested interest in a default final judgment since he is an officer, director,
  and agent of at least one of the plaintiffs who brought the instant Motion, 42 Ventures.2 Regardless,
  reconsideration of an order "is an extraordinary remedy to be employed sparingly." Burger King Corp.
  v. Ashland Equities, Inc., 181 F. Supp. 2d 1366, 1370 (S.D. Fla. 2002). The Motion omitted any reference
  to an intervening change in controlling law or the availability of new evidence, and similarly failed to
  pinpoint any “clear error or manifest injustice” in the Order [D.E. 167]. At best, the Motion merely
  asks the Court to reconsider what it already decided, which is an insufficient basis for reconsideration.
  For the reasons that follow, the Motion should be denied.




  1
    Quadranet expressly preserves all of its defenses, including but not limited to those Rule 12(b)
  defenses asserted in Quadranet’s pre-answer Motion to Dismiss. [D.E. 108]. Hinkle v. Cont'l Motors,
  Inc., 2018 U.S. Dist. LEXIS 231328, at *11 (M.D. Fla. July 12, 2018); Wray v. Petersen, 2018 U.S. Dist.
  LEXIS 130754, at *15 (M.D. Fla. July 17, 2018). The Court’s Order specifically found that Quadranet
  has not waived its Rule 12 defenses. See [D.E. 167, p. 3].
  2
       See https://hbe.ehawaii.gov/documents/business.html?fileNumber=211737C5.                See also
  https://opencorporates.com/companies/us_hi/211737C5.

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                                        MEMORANDUM OF LAW
  I.    Plaintiffs’ Motion for Reconsideration Should Be Denied Because the Requested Relief
        is Sought Pursuant to Fed. R. Civ. P. 60(b)(6), Which is Inapplicable to the Order
        Denying Plaintiffs’ Motion for a Default Final Judgment Without Prejudice.
          Because the Motion seeks relief under Fed. R. Civ. P. 60(b)(6), this Court’s “analysis of Rule
  60(b) begins, as it must, with its text.” Penn W. Assocs. v. Cohen, 371 F.3d 118, 124 (3d Cir. 2004). Rule
  60(b) “permits the court to ‘relieve a party or its legal representative from a final judgment, order, or
  proceeding’ on several stated grounds. Fed. R. Civ. P. 60(b)(1)-(6).” Leeks v. GeoPoint Surveying, Inc.,
  2020 U.S. Dist. LEXIS 107398, at *4 (M.D. Fla. June 18, 2020) (emphasis added). According to its
  plain text, Rule 60(b) “applies only to 'final' judgments and orders." Penn W. Assocs. v. Cohen, 371 F.3d
  118, 125 (3d Cir. 2004). “The concept of ‘finality’ is well-settled. In Catlin v. United States, 324 U.S.
  229, 233 (1945), the Supreme Court defined a ‘final decision’ for purposes of appeal ‘generally [as] one
  which ends the litigation on the merits and leaves nothing for the court to do but execute the
  judgment.’” Penn W. Assocs. v. Cohen, 371 F.3d 118, 125 (3d Cir. 2004); see also Keys v. Carroll, 2012 U.S.
  Dist. LEXIS 50157, at *4 n.1 (M.D. Pa. Apr. 10, 2012) (“A final order is one that 'ends the litigation
  on the merits and leaves nothing for the court to do but execute the judgment.”). Logically then,
  "there is no final order if claims remain unresolved and their resolution is to occur in the district
  court." Penn W. Assocs., 371 F.3d 118, 125 (3d Cir. 2004).
          The question then for this Court is whether the Order is “a final decision? If not, relief is
  unavailable under Rule 60(b).” Id. The answer to that question must be a resounding “no,” because
  the Order denying Plaintiffs’ Motion for Default Final Judgment without prejudice did not end the
  litigation on the merits; in fact, the Order specifically provided that “Plaintiffs may file an amended
  Motion after a final disposition on the merits of the case.” [D.E. 167, p. 9]. For that reason alone,
  Plaintiffs’ Motion for Reconsideration should be denied.
  II.   The Motion for Reconsideration Should Also Be Denied on Substantive Grounds.
          Even if Fed. R. Civ. P. 60(b) did apply – which it does not – Plaintiffs’ request should still be
  denied because it seeks the extraordinary remedy of reconsideration without a sufficient legal basis to
  do so. Courts have delineated three grounds justifying reconsideration: “(1) an intervening change in
  controlling law; (2) the availability of new evidence; and (3) the need to correct clear error or prevent
  manifest injustice.” Abromats v. Abromats, No. 16-cv-60653-BLOOM/Valle, 2016 U.S. Dist. LEXIS
  141904, at *7 (S.D. Fla. Oct. 13, 2016) (citations excluded). “In order to demonstrate clear error, a
  [movant] must do more than simply restate previous arguments. Further, any arguments the movant
  failed to raise in earlier motions will be deemed waived.” Bautista v. Cruise Ships Catering & Service Intern'l,

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  N.V., 350 F. Supp. 2d 987, 992 (S.D. Fla. 2004). "Court opinions are 'not intended as mere first drafts,
  subject to revision and reconsideration at a litigant's pleasure.'" Hoban v. Sovereign Republic of Peru, 2016
  U.S. Dist. LEXIS 186141, at *3 (S.D. Fla. Nov. 2, 2016) (internal citation omitted). As detailed below,
  no “exceptional circumstances” exist for the Court to reconsider its prior Order. See Madden v.
  Chattanooga City Wide Serv. Dep't, 2007 U.S. Dist. LEXIS 53955, at *9 (E.D. Tenn. July 25, 2007) (stating
  that Rule 60(b) “motions seek extraordinary judicial relief and can be granted only upon a showing of
  exceptional circumstances.”).
      A. Plaintiffs’ Argument Pertaining to Inconsistent Judgments Does Not Constitute an
         Exceptional Circumstance for the Court to Reconsider its Prior Order.
          As its first basis for reconsideration, the Motion contends that 42 Ventures “does not make
  any copyright claims,” and rather asserts “trademark and unfair competition claims against only the
  LiquidVPN Defendants.” [D.E. 168, p. 2]. Therefore, according to 42 Ventures, there is no risk of
  inconsistent judgments. Id. Similarly, the Motion asserts that Millennium and Voltage advanced
  “breach of contract and publicity claims against only the LiquidVPN Defendants,” and thus “there is
  no risk of inconsistent judgments with other Defendants…” Id. For several reasons, this initial
  argument should be rejected, and the Motion denied.
          First, and after the risk of inconsistent judgments was raised by Quadranet [D.E. 134], 42
  Ventures, Millennium, and Voltage failed to rebut this argument in their reply brief [D.E. 135], and in
  fact omitted any of the arguments that are now raised in the subject Motion. The law is clear that a
  "motion for reconsideration cannot be used to re-litigate old matters, raise argument or present
  evidence that could have been raised prior to the entry of the [challenged order]. This prohibition
  includes new arguments that were previously available, but not pressed." Wilchombe v. Teevee Toons,
  Inc., 555 F.3d 949, 957 (11th Cir. 2009) (internal quotations and citations omitted) (emphasis added);
  see also Sanderlin v. Seminole Tribe, 243 F.3d 1282, 1292 (11th Cir. 2001) (“Motions for reconsideration
  should not be used to raise legal arguments which could and should have been made”); Kinetic v.
  ConvaTec, Inc., 2010 U.S. Dist. LEXIS 40240, at *29 (M.D.N.C. Apr. 23, 2010) (“a party who fails to
  address an issue has conceded the issue.”); American Registry v. Bennett, 655 F. Supp. 2d 944, 946 n.2 (D.
  Minn. 2009) ("It is well established that a party concedes an issue by failing to address it in an opposing
  brief."); In re Paoli, 1992 U.S. Dist. LEXIS 18428, 1992 WL 323589, at *2 (E.D. Pa. Oct. 21, 1992)
  ("Plaintiffs' response to this motion completely fails to address Defendants' position with respect to
  [this issue] and is therefore deemed to admit and concede its correctness.").
          Second, one of the defendants allegedly in default, Charles Muszynski (the founder of



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  LiquidVPN) previously contested whether service of the Second Amended Complaint was even valid
  [D.E. 126]. Although Mr. Muszynski’s motion to quash was denied, there is a reasonable basis to
  believe that he, and potentially his company, may respond to the legally deficient Second Amended
  Complaint. Recognizing “the general rule that default judgments are ordinarily disfavored because
  cases should be decided upon their merits whenever reasonably possible,” the Motion should be
  denied on that basis as well. Vasquez v. Moving Dudes LLC, No. 19-cv-60663-BLOOM, 2019 U.S. Dist.
  LEXIS 118055, at *2 (S.D. Fla. July 15, 2019) (citation omitted).
          Third, the Motion failed to rebut (or even discuss) the glaring deficiency in the Second
  Amended Complaint (“SAC”), in that it constitutes an impermissible shotgun pleading. Consequently,
  the SAC cannot serve as a basis for the entry of a default final judgment. Alvarez v. Gregory HVAC
  LLC, 2021 U.S. Dist. LEXIS 163505, at *1 (M.D. Fla. Aug. 30, 2021) (dismissing the plaintiff’s
  complaint      “as   a    shotgun      pleading,”    and     therefore     “deny[ing]    the      Motion
  for Default Final Judgment.”).3 Since the “Court has an obligation to sua sponte strike a shotgun
  pleading,”4 the SAC should be stricken, and the Motion denied.
          Fourth, the Court acted in its discretion by denying the plaintiffs’ motion for default final
  judgment. “While Rule 55(b) provides the court power to enter a default judgment, the court's
  decision to exercise that power is discretionary.” Country Mut. Ins. Co. v. Goldman, 2020 U.S. Dist.
  LEXIS 58000, at *3 (M.D. Ala. Apr. 2, 2020). Here, the Motion failed to raise any “exceptional
  circumstance” or “clear error” that would otherwise justify setting aside the Order, which was
  adjudicated within the Court’s discretion.
          Fifth, the Plaintiffs’ Motion for Default Final Judgment failed to ever raise the importance and
  impact of Fed. R. Civ. P. 54(b). This rule requires that “[w]here there are multiple claims or parties,
  ‘the court may direct entry of a final judgment as to one or more, but fewer than all, claims or parties
  only if the court expressly determines that there is no just reason for delay.” Fed. R. Civ. P. 54(b)
  (emphasis added). The Middle District of Florida has noted that “as a practical matter, Fed. R. Civ. P.
  54(b) means:
          [W]hen a default is entered against one defendant in a multi-defendant case, the
          preferred practice is for the court to withhold granting a default judgment until after
  3
    In the instant case, Quadranet’s pending and case-dispositive Motion to Dismiss detailed how the
  Second Amended Complaint constitutes an impermissible shotgun pleading not only as to Quadranet,
  but also as to the LiquidVPN Defendants as well. [D.E. 108, p. 18-21]. Having been represented at
  all times by counsel, Plaintiffs have no justification for having filed three (3) shotgun pleadings in a
  row. [(D.E. 108, p. 21), referencing D.E. 1, 24, and 96].
  4
    Chiron Recovery Ctr. v. UnitedHealth, 2019 U.S. Dist. LEXIS 135535, at *21 (S.D. Fla. Aug. 8, 2019).

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          trial on the merits against the remaining defendants. This practice grew out of the
          case of Frow …, in which the Supreme Court held that the risk of inconsistency
          precluded the entry of default judgment against one alleged conspirator whose alleged
          co-conspirators were proceeding to trial. Within [the Eleventh Circuit], the preferred
          practice has been extended beyond situations in which the defaulting
          defendant may be jointly liable with non-defaulting defendants to situations in
          which the defaulting defendant is merely similarly situated to those who continue to
          contest the allegations on the merits.
  Poole, 2019 U.S. Dist. LEXIS 146524, at *5-6 (citation omitted) (emphasis added) (brackets in original).
  While the failure to mention Rule 54(b) is alone fatal to the instant Motion,5 any request for
  reconsideration should also be denied because the Court acted within its discretion by adopting the
  preferred practice (i.e. denying without prejudice a request for default judgment until after trial on the
  merits against the remaining defendants).6
      B. Plaintiffs’ Fallback Argument Pertaining to Irreparable Harm Does Not Constitute an
         Exceptional Circumstance for the Court to Reconsider its Prior Order.

          The only other argument in support of reconsideration is the notion that the Court somehow
  “discounted Plaintiffs’ assertion of irreparable harm.” [D.E 168 p. 2]. This argument too fails.
          Irreparable harm is not an element of, and is irrelevant to, Millennium’s and Voltage’s
  purported breach of contract and publicity claims. As Quadranet previously asserted in its opposition
  brief, there is no prejudice if the Motion for Default Final Judgment is denied with leave to re-file following
  a final disposition on the merits as to all named defendants. [D.E. 134]. The Order adopted this approach by
  denying Plaintiffs’ request without prejudice, and allowing them to “file an amended Motion after a final
  disposition on the merits of the case.” [D.E. 167, p. 9]. Accordingly, and at least as to Millennium’s
  and Voltage’s purported claims, the “irreparable harm” argument is baseless, irrelevant, and
  inapplicable. At a minimum, therefore, the Motion should be denied as to Millennium and Voltage.
          Turning to 42 Ventures’ trademark claim, and the contention that the Court did not consider
  irreparable harm, the Motion is in error. In fact, the Order discussed this issue at length, and rejected
  the Plaintiffs’ position:




  5
   U.S. CFTC v. Allied Mkts., 2015 U.S. Dist. LEXIS 139768, at *5 (M.D. Fla. Oct. 14, 2015).
  6
   While the Motion did briefly mention Rule 54(b) in passing, this argument was not raised in Plaintiffs’
  prior motion for a default final judgment. Since “new arguments are not sufficient to entitle a movant
  to reconsideration of an Order,” the Motion should be denied. Serpentfoot v. Rome City Comm'n, 2008
  U.S. Dist. LEXIS 143565, at *3 (N.D. Ga. Sep. 15, 2008).


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              Plaintiffs notably do not address Defendants’ contention that the procedural
              posture of the case is just reason for delay. See generally ECF No. [137]. Instead of
              addressing the Quadranet Defendants’ arguments about the just reason for delay,
              Plaintiffs contend that it will suffer irreparable harm if the Motion is not granted.
              See id. at 5-6. Plaintiffs’ contention appears to be that because of the irreparable
              harm that Plaintiffs will suffer if the Motion is not granted, the procedural posture
              of the case and the risk of inconsistent judgments are not just reasons for delay.
              See id. Plaintiffs argue that because the Court denied Plaintiff’s Motion for a
              Temporary Restraining Order (“Motion for TRO”) due to Plaintiffs’ delay in
              seeking a TRO, they continue to suffer irreparable harm, and that a Default
              Judgment would provide the necessary injunctive relief. See id.; see also ECF No.
              [93]. Plaintiffs also raise two new arguments addressing their delay in seeking a
              TRO. See ECF No. [137] at 5. Plaintiffs claim that they were delayed in seeking the
              TRO because they were not aware of AUH2O until they received further
              information from a separate lawsuit and because the country was in the midst of
              the coronavirus pandemic. See id.

              However, the Court is unpersuaded by Plaintiffs’ argument that the delay was
              justified. Plaintiffs could have sought a TRO against Defendants other than
              AUH2O, if they were not aware of AUH2O’s existence, yet Plaintiffs chose not
              to do so until May 6, 2021, more than two months after filing their initial complaint
              on March 3, 2021. See ECF No. [28]. In addition, without further information, the
              Court cannot determine why Plaintiffs could not have sought a TRO during the
              intervening two months, despite the pandemic, if the harm was truly immediate
              and irreparable as Plaintiffs’ claim. A review of the record suggests that Plaintiffs
              were able to file other motions and affidavits during the time. See ECF Nos. [3],
              [15], [21], [22]. As such, the Court determines that the alleged harm to Plaintiffs
              does not outweigh the procedural posture of the case and the risk of inconsistent
              judgments, which other courts have found to be just reason for delay.

  [D.E. 167, p. 8-9]. As detailed above, the Court specifically addressed – and rejected – the Plaintiffs’
  argument as to irreparable harm. The Order was well-rooted in legal precedent, since Plaintiffs are
  not entitled to a presumption of irreparable harm given such inexcusable delay. See Wreal LLC v.
  Amazon.com, Inc., No. 14-21385-CIV-LENARD/GOODMAN, 2015 U.S. Dist. LEXIS 176382, at *52
  (S.D. Fla. Feb. 3, 2015) (“delays of a few months negate any claim of irreparable harm,” and further
  recognizing that “‘[C]ourts typically decline to grant preliminary injunctions in the face of unexplained
  delays of more than two months.’”) (internal citation omitted). In sum, the Motion should be denied
  because 42 Ventures merely reargued an issue that was previously addressed, and which was
  determined adversely to 42 Ventures in the Order. Bafford v. Twp. Apartments Assocs., 2008 U.S. Dist.
  LEXIS 145521, at *8 (M.D. Fla. Jan. 4, 2008) (“Plaintiff's motion falls short of meeting the standard
  for relief under Rule 60(b)(6)…[p]laintiff merely reargues issues which have been previously addressed
  and determined adversely to Plaintiff.”).


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  V.      CONCLUSION
          WHEREFORE, based upon the foregoing arguments and legal authorities, Quadranet
  Enterprises, LLC and Quadranet, Inc. respectfully submit that the Motion should be denied in all
  respects.
                                                      Respectfully submitted,

  Dated: December 6, 2021                             Jonathan Woodard
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